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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                               LEWIS T. BABCOCK, CHIEF JUDGE

      Civil Action No.: 06-cv-01726-LTB-CBS


      INTERNET ARCHIVE, a California 501(c)(3) non-profit organization,

              Plaintiff and Counterclaim Defendant,

      v.

      SUZANNE SHELL, a Colorado resident,

              Defendant and Counterclaimant.
      v.
      BREWSTER KAHLE, an individual,
      RICK PRELINGER, an individual,
      and
      KATHLEEN BURCH, an individual
              Counterclaim Defendants

            INDIVIDUAL DEFENDANTS’ MOTION TO DISMISS COUNTERCLAIMS FOR
           LACK OF PERSONAL JURISDICTION, AND FOR FAILURE TO STATE A CLAIM

                                             Introduction

              This Court previously dismissed Ms. Shell’s racketeering counterclaims against the

      Internet Archive (“Internet Archive”) because Ms. Shell failed to allege the necessary
      existence of a racketeering enterprise. Now, Ms. Shell brings those very same claims, in

      the same form, against various directors of the Internet Archive, Brewster Kahle, Richard

      Prelinger and Kathleen Burch (collectively, the “Individual Defendants”). They fail for

      precisely the same reason, among others.

              As brought against the Individual Defendants, these racketeering counterclaims fail

      for the additional reason that this Court lacks personal jurisdiction over them. Each of the

      Individual Defendants is a California resident and forcing them to litigate in a foreign

      forum to which they have no connection would violate Due Process and offend traditional



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      notions of fair play and substantial justice. Ms. Shell is well-versed in the standards of

      personal jurisdiction, having vigorously objected to being subjected to personal

      jurisdiction herself in California prior to the stipulated transfer of this case to Colorado.

      Nonetheless, Ms. Shell’s Counterclaims are conspicuously devoid of even a single fact that

      would give this Court a basis to exercise jurisdiction over any one of the Individual

      Defendants.

             In light of this, Internet Archive sought to avoid this motion by agreement, but was

      unsuccessful. After this Court dismissed the racketeering claims against Internet Archive
      in its February 13, 2007 Order (“Order”), Internet Archive requested that Ms. Shell

      consider withdrawing her parallel claims against the Individual Defendants, as those

      claims could not survive following the Court’s decision. Internet Archive further

      explained that the Court cannot properly exercise jurisdiction over the Individual

      Defendants in Colorado, asking Ms. Shell to provide any information that might show

      otherwise. Despite providing no fact upon which personal jurisdiction in Colorado would

      be reasonable, Ms. Shell refused to withdraw her claims against the Individual Defendants.

      Accordingly, Internet Archive has been forced to bring this Motion to Dismiss Ms. Shell’s

      Counterclaims on behalf of the Individual Defendants.

                                          Statement of Facts1

             Internet Archive brought its original declaratory relief action in the Northern

      District of California, where Internet Archive is located. Declaration of Michael H. Rubin

      in Support of the Individual Defendants’ Motion to Dismiss (“Rubin Decl.”) ¶ 3. Ms.

      Shell answered Internet Archive’s Complaint on March 10, 2006 by filing an Answer and

      Objection to Venue and Counterclaims. Rubin Decl. ¶ 4. Subsequently, Ms. Shell filed

      two sets of amended pleadings, the second of which purported to add the Individual


             1   Internet Archive has detailed many of the facts explaining the background of
      this litigation in its initial Motion to Dismiss. Accordingly, only facts relevant to the
      instant Motion are set forth herein.
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      Defendants as parties with respect to her racketeering claims only. Rubin Decl. ¶¶ 5 and 8.

      Internet Archive moved to dismiss Ms. Shell’s Counterclaims for breach of contract, civil

      theft and conversion, and racketeering and opposed the addition of the Individual

      Defendants as parties to the litigation. Rubin Decl. ¶ 6. Ms. Shell proceeded to file a host

      of motions in response, consistently objecting to the California court’s exercise of

      jurisdiction over her. Rubin Decl. ¶¶ 7 and 8.

             A number of these Motions were set to be heard on May 19, 2006. Rubin Decl. ¶

      9. On May 17, 2006, however, the California court vacated the hearing date and granted
      Internet Archive leave to take limited discovery related to personal jurisdiction over Ms.

      Shell in California. Rubin Decl. ¶ 10. After conducting limited jurisdictional discovery,

      Internet Archive and Ms. Shell stipulated to transfer the case to Colorado. In Paragraph 3

      of the stipulation, Internet Archive expressly reserved “any objections to jurisdiction or

      venue in the United States District Court for the District of Colorado.” Rubin Decl. ¶ 11.

             On August 25, 2006, Internet Archive transferred its Complaint, and all of the

      pending motions referenced in the California Court’s May 17, 2006 Order to this Court

      before the Individual Defendants had ever been added to the action and with all objections

      to jurisdiction expressly reserved. On October 6, 2006, Ms. Shell filed her Second

      Amended Answer and Counterclaim and Third Party Claim (“Counterclaims”) along with

      her Motion to Amend, which was granted and deemed filed on November 1, 2006. Ms.

      Shell served her Counterclaims, along with a Notice of Waiver of Service on the

      Individual Defendants on December 27, 2006, thus officially adding the Individual

      Defendants to the instant litigation. Rubin Decl. ¶ 12.

             Ms. Shell makes only the following factual showing as a basis for this Court’s

      exercise of personal jurisdiction over the Internet Archive in Colorado:

             “Internet Archive purposefully availed itself of the privilege of
             acting in Colorado or of causing important consequences here; the
             cause of action arises from the consequences to Ms. Shell in
             Colorado of Internet Archive’s activities; the activities of Internet

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             Archive or the consequences have a substantial enough connection
             with Colorado to make exercise of Colorado’s jurisdiction over
             Internet Archive reasonable. Internet Archive transacted business
             in Colorado and committed tortious acts in Colorado, therefore,
             jurisdiction and venue is proper in Colorado.” See Ms. Shell’s
             Second Amended Answer and Counterclaim and Third Party
             Claim (“Counterclaim”) ¶ 26.
             Strikingly, there is not a single jurisdictional fact alleged that specifically relates to

      the Individual Defendants. Indeed, Ms. Shell cannot make a showing of personal

      jurisdiction here, as none of the Individual Defendants:

             §       resides or has ever resided in Colorado;

             §       owns or is affiliated with a company that does business in Colorado;

             §       owns property of any kind in Colorado;

             §       pays taxes in Colorado;

             §       maintains a bank account in Colorado;

             §       maintains a mailing address or telephone listing in Colorado;

             §       makes sales, directly or indirectly, specifically in Colorado;2

             §       advertises in Colorado, or otherwise attempts to serve the Colorado
                     market; or

             §       has filed a lawsuit in Colorado.

      Declaration of Kathleen Burch in Support of Individual Defendants’ Motion to Dismiss
      (“Burch Decl.”) ¶¶ 2-8, 10, 13, 15. Declaration of Brewster Kahle in Support of
      Individual Defendants’ Motion to Dismiss (“Kahle Decl.”) ¶¶ 2-3, 5-8, 10, 13-15, 17.
      Declaration of Richard Prelinger in Support of Individual Defendants’ Motion to Dismiss
      (“Prelinger Decl.”) ¶¶ 2-8, 10, 14, 17.
             In the aggregate, the only contact the Individual Defendants have had with the

      State of Colorado is as follows: Mr. Kahle occasionally has contact with a Colorado

      attorney for purely personal financial services, and in relation to those personal services,

      owns a Limited Liability Partnership under the laws of Colorado that does no business in


             2  Ms. Burch does sell books through Amazon.com, but is not aware of any
      specific sales to anyone in Colorado. Burch Decl. ¶ 7.
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      the State; Kahle Decl. ¶ 10, in the late 1990s, Ms. Burch traveled to a spa in Aspen,

      Colorado; Burch Decl. ¶ 16, and Mr. Prelinger traveled to Aspen, Colorado in 1995 as a

      guest speaker in the educational program at the International Design Conference, for

      which he was not paid; Prelinger Decl. ¶ 19, and took a road trip through the State in

      1976.3 Prelinger Decl. ¶ 20.

             Further, it would be unduly burdensome and inconvenient for each of the

      Individual Defendants to be forced to travel to Colorado to defend against Ms. Shell’s

      racketeering counterclaims. Burch Decl. ¶ 17, Kahle Decl. ¶ 19, Prelinger Decl. ¶ 21.
      Travel to Colorado would constitute a significant financial drain for Ms. Burch and Mr.

      Prelinger, and would require the expenditure of time away from work and other personal

      commitments, and would be inconvenient and burdensome for all three of the Individual

      Defendants. Id.

                                               Argument
      I.     LEGAL STANDARDS

             A.      Motion to Dismiss for Failure to State a Claim

             Under Federal Rule of Civil Procedure 12(b)(6), a district court may dismiss a

      complaint for failure to state a claim upon which relief can be granted without leave to

      amend if it appears that the plaintiff cannot plead a set of facts in support of its claim

      that would entitle it to relief. See Conley v. Gibson, 355 U.S. 41, 45-46 (1957). In the

      context a motion to dismiss, courts must take well-pleaded fact as true, but courts are

      not bound to accept as true statements that are merely conclusory. Coburn v. Nordeen,

      2003 WL 21662064, *2 (10th Cir. July 10, 2003). Similarly, “unwarranted inferences




             3  These negligible contacts with Colorado, even taken in the aggregate, are fewer
      than Ms. Shell’s own purported contacts with the State of California, which she insisted
      were too few to support personal jurisdiction there. Rubin Decl. ¶ 8. Accordingly, even
      by her own measure of minimum contacts, personal jurisdiction cannot reasonably be
      asserted over the Individual Defendants in Colorado.
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      drawn from the facts or footless conclusions of law predicated upon them” may likewise

      be disregarded. Bryson v. City of Edmond, 905 F.2d 1386, 1390 (10th Cir. 1990).

             B.      Motion to Dismiss for Lack of Personal Jurisdiction

             Federal Rule of Civil Procedure 12(b)(2) empowers the Court to dismiss a

      complaint for “lack of jurisdiction over the person.” Fed. R. Civ. P. 12(b)(2). The

      plaintiff bears the burden of establishing personal jurisdiction. Encore Productions, Inc. v.

      Promise Keepers, 53 F.Supp.2d 1101, 1114 (D. Colo. 1999). When the issue is raised

      before trial, plaintiff need only make a prima facie showing. Id. The allegations in the
      complaint must be taken as true to the extent they are uncontroverted by the defendant’s

      affidavits; however, only the well pled facts of plaintiff’s complaint, as distinguished from

      mere conclusory allegations, must be accepted as true. See Wenz v. Memery Crystal, 55

      F.3d 1503, 1505 (10th Cir. 1995) (holding plaintiff failed to establish personal jurisdiction

      over defendant by failing to set forth any facts in support of conclusory allegations that

      defendant had conducted business in Colorado).

             In assessing personal jurisdiction, courts must first look to the forum state’s long

      arm statute. Far West Capital, Inc. v. Towne, 46 F.3d 1071, 1074 (10th Cir. 1995). Here,

      Colorado’s long arm statute extends jurisdiction “to the fullest extent permitted by Due

      Process.” SCC Communications Corporation v. Anderson, 195 F.Supp.2d 1257, 160 (D.

      Colo. 2002). A court’s jurisdiction may be general or specific. GCI 1985-1 Ltd. v.

      Murray Properties Partnership of Dallas, 770 F.Supp. 585, 587 (D. Colo. 1991). General

      jurisdiction exists when the defendant’s presence in Colorado or accumulated contact with

      the forum is continuous and systematic. Rambo v. American Southern Ins. Co., 839 F.2d.

      1415, 1418 (10th Cir. 1988).

             Whether the Court can exercise specific jurisdiction turns on an evaluation of the

      nature and quality of the defendant’s contacts with the forum in relation to the cause of

      action. GCI 1985-1 Ltd. at 587, citing Kennedy v. Freeman, 919 F.2d 126, 128 (10th Cir.

      1990). Courts must make a particularized inquiry as to the extent to which the defendant

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      has purposefully availed itself of the benefits of the forum’s laws, Far West Capital, 46

      F.3d at 1079, and the plaintiff’s claims must relate to or arise out of the defendant’s

      contacts with the forum. Helicopteros Nacionales de Columbia, S.A. v. Hall, 466 U.S.

      408, 414 nn.8, 9 (1984). Finally, the defendant’s contacts with the forum must be such

      that maintenance of the suit does not “offend traditional notions of fair play and substantial

      justice.” World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 292 (1980), citing

      International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

      II.    MS. SHELL’S RACKETEERING CLAIMS FAIL AGAINST THE
             INDIVIDUAL DEFENDANTS BECAUSE SHE HAS NOT ALLEGED AN
             ENTERPRISE.
             This Court has already held that Ms. Shell failed to state a racketeering claim

      against Internet Archive because Ms. Shell failed to plead the existence of a racketeering

      enterprise, one of the fundamental elements of a RICO claim. Order at 21. See 18

      U.S.C. § 1962(c); see also United States v. Turkette, 452 U.S. 576, 580 (1981)

      (explaining that a RICO violation requires proof of conduct by a person of an enterprise

      through a pattern of racketeering activity). For the same reason, Ms. Shell has also failed

      to state a racketeering claim against the Individual Defendants, Internet Archive’s

      directors. Specifically, this Court held that “Ms. Shell’s allegations that Internet Archive

      and its Directors constitute an enterprise does not meet the threshold requirements of

      RICO, and Ms. Shell’s RICO claim fails.” Order at 20.

             As Internet Archive explained in detail in its initial Motion to Dismiss, the

      “enterprise” element of a RICO claim must be specifically alleged, including: (i) that

      there is “an ongoing organization with a decision-making framework or mechanism for

      controlling the group,” (ii) “that various associates function as a continuing unit,” and

      (iii) “that the enterprise exists separate and apart from the pattern of racketeering

      activity.” Kearney v. Dimanna, 2006 WL 2501414, * 2 (10th Cir. August 30, 2006)

      (upholding district court’s dismissal of RICO claim for failure to allege an enterprise with


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      any purpose outside of the alleged racketeering activity) (citing United States v. Smith,

      415 F.3d 1253, 1266-1267 (10th Cir. 2005)).

             Ms. Shell alleges the existence of an enterprise “including but not necessarily

      limited to” Internet Archive and its directors, agents, and employees, Alexa Internet, the

      Library of Congress, and the Smithsonian Institute. See Counterclaim, ¶ 94. This vague

      assertion falls far short of the specific allegations required by the Tenth Circuit. As this

      Court explained, Ms. Shell’s vague assertion that Internet Archive collaborates with these

      entities does not allege that “these entities and Internet Archive function with a decision-
      making framework, have a mechanism for making decisions or function as a continuing

      unit.” Order at 19.

             The Court further pointed out that without the participation of other entities, Ms.

      Shell’s allegations amount to little more than a relationship between Internet Archive the

      defendant and Internet Archive “acting with its directors as an enterprise.” Order at 19.

      The Tenth Circuit, as recognized by this Court, requires that a RICO defendant must be

      an entity distinct from the alleged enterprise, and liability rests on a showing that the

      defendant does more than just conduct its own affairs. Id. (citing Brannon v. Boatmen’s

      First Nat. Bank of Oklahoma, 153 F.3d 1144, 1146 (10th Cir. 1998). Indeed, this Court

      expressed its concern that “if a corporation and its directors can constitute a RICO

      enterprise separate from the defendant corporation, then any corporation by definition can

      satisfy the definition of a RICO enterprise” and held that Ms. Shell had failed to meet the

      threshold requirements of a RICO claim. Order at 20.

             Because Colorado courts interpret Colorado state racketeering claims under the

      same standards as those used for federal liability under RICO, Ms. Shell’s state law claim

      under the Colorado Organized Crime Control Act fails on this basis as well—against

      Internet Archive and the Individual Defendants. Order at 20 (citing Ferris v. Bakery,

      Confectionary and Tobacco Union, 867 P.2d 38, 46 (Colo. Ct. App. 1993)).



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      II.    THIS COURT DOES NOT HAVE PERSONAL JURISDICTION OVER
             THE INDIVIDUAL DEFENDANTS.4
             Ms. Shell’s Counterclaims make no allegations of facts to support the exercise of

      jurisdiction over the Individual Defendants whatsoever. While that alone is a sufficient

      basis to dismiss her counterclaims on basis of a lack of personal jurisdiction, the Individual

      Defendants can show that there is no basis in fact for the Court to find that either general

      or specific jurisdiction over them exists here.

             A.      Ms. Shell Has Not Made a Prima Facie Showing of General
                     Jurisdiction Over the Individual Defendants.
             None of the Individual Defendants has had the continuous or systematic contacts
      with Colorado necessary for the exercise of general jurisdiction by this Court over them.

      See Helicopteros, 466 U.S. at 416 (holding that sending chief executive officer to the

      forum state for a contract negotiation session, accepting into its New York bank account

      checks drawn on a forum state bank, purchasing helicopters, equipment, and training

      services from a business in the forum state for substantial sums, and sending personnel to

      the forum state for training, did not constitute “continuous and systematic business

      contacts with the forum State” sufficient to find general jurisdiction). Ms. Shell certainly

      has not met her burden of alleging facts sufficient to establish general jurisdiction over the

      Individual Defendants in her Counterclaims.

             4  The fact that Internet Archive has stipulated to jurisdiction in Colorado does not
      make jurisdiction in Colorado proper over the Individual Defendants. Internet Archive
      and Suzanne Shell expressly preserved any objections to jurisdiction in Colorado when
      they stipulated to transfer the case to Colorado. Rubin Decl. ¶ 11. Moreover, an
      employee’s or director’s contacts with a forum state are not to be judged according to the
      corporation’s activities in the state. Wegerer v. First Commodity Corp. of Boston, 744
      F.2d 719 (10th Cir. 1984) (“Jurisdiction over the individual officers of a corporation,
      however, may not be obtained merely by accomplishing jurisdiction over the
      corporation.”); Encore Productions, Inc. v. Promise Keepers, 53 F.Supp.2d 1101, 1114
      (D. Colo. 1999) (explaining that employee’s contacts with a forum state are not judged
      according to their employer's activities in that state and citing Calder v. Jones, 465 U.S.
      783, 790 (1984). Each defendant’s contact with the forum state must be assessed
      individually. Id. As such, the Individual Defendants are entitled to an individualized
      inquiry into their own personal contacts with Colorado notwithstanding Internet
      Archive’s stipulation to jurisdiction in Colorado.
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            Ms. Burch’s single trip to a spa in Aspen, Burch Decl. ¶ 16, Mr. Prelinger’s road

     trip through Colorado in 1976 and attendance at a Colorado conference in 1995, Prelinger

     Decl. ¶¶ 19 & 20, and Mr. Kahle’s occasional telephone calls with a Colorado attorney for

     personal financial reasons regarding a Colorado Limited Liability Partnership that does no

     business in the state, Kahle Decl. ¶¶ 10 & 16, are such negligible contacts that they would

     not subject a single individual to general jurisdiction in Colorado. See Doe v. National

     Medical Services, 748 F.Supp. 793, 796 (D. Colo. 1990) (holding that the court did not

     have general jurisdiction over a defendant who had not negotiated contracts in Colorado,
     had not purchased equipment or services in Colorado, had not maintained offices in

     Colorado and had not solicited business in Colorado). They are far from sufficient when

     properly allocated across the three Individual Defendants. See id. There is nothing

     systematic about three aggregate stops (two for pleasure), occasional phone calls, and

     ownership of a Limited Liability Partnership that does not even conduct business in the

     forum state. See id. Further, dropping in on the forum once in twenty years and making

     the occasional phone call cannot be considered continuous contact. See AST Sports

     Science, Inc. v. CLF Distribution Ltd., 2006 WL 686483, * 2 (D. Colo. March 16, 2006)

     (holding that the court could not assert general jurisdiction over defendant and explaining

     that a “[p]laintiff cannot reach back to events that occurred, at the earliest, in the late 1990s

     to prove a case of general jurisdiction over defendants today.”).

            Accordingly, since the Individual Defendants do not have continuous and

     systematic business contacts with Colorado, the Court cannot properly exercise general

     jurisdiction over the Individual Defendants.




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            B.      Ms. Shell Has Not Made a Prima Facie Showing of Specific
                    Jurisdiction Over the Individual Defendants.5

                    1.      The Individual Defendants did not “purposefully avail”
                            themselves of a Colorado forum.
            To fulfill the Constitutional “minimum contacts” mandate, the quality and nature of

     the defendant’s forum contacts must be such that a defendant “should reasonably expect to

     be hailed into court there.” World-Wide Volkswagon, 444 U.S. at 297. As a matter of law,

     a defendant’s forum contacts must include activities by which the defendant “purposefully

     avails” himself of the forum, “thus invoking the benefits and protections of its laws.”

     Hanson v. Denckla, 357 U.S. 235, 253 (1958). Importantly, it is also the plaintiff’s burden
     to show that some act by the defendant is “purposely directed” towards residents of the

     forum state. Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476 (1985).

            As explained above, not one of the Individual Defendants lives, works or owns

     property in Colorado. Burch Decl. ¶¶ 3 & 15, Kahle Decl. ¶¶ 2 & 17, Prelinger Decl. ¶¶

     13 & 17. None of them pays taxes, maintains a bank account, mailing address or

     telephone listing in Colorado. Burch Decl. ¶¶ 4, 5, & 6, Kahle Decl. ¶¶ 3, 4, & 5,

     Prelinger Decl. ¶¶ 4, 5 & 6. Moreover, none of the Individual Defendants makes sales or


            5   While not dispositive, the burden on the defendant on of litigating the case in a
     foreign forum is also a significant concern in determining the reasonableness of personal
     jurisdiction. See World-Wide Volkswagen, 444 U.S. at 292. Even assuming, arguendo,
     that Ms. Shell could show that the defendants had some minimum contact with the state of
     Colorado, the burden of litigating this case in Colorado would be a substantial one on
     Individual Defendants. All three Individual Defendants work and live in California.
     Burch Decl. ¶ 1, Kahle Decl. ¶ 1, Prelinger Decl. ¶ 1. Richard Prelinger, who works in the
     business of licensing stock film footage, is required to view, select and edit videotape
     material on a daily basis in order to fulfill urgent customer orders which are communicated
     at frequent and unpredictable times and absence from California would cause him
     substantial loss of income and would be destructive to client and customer relationships.
     Prelinger Decl. ¶ 21. The other Individual Defendants would likewise be inconvenienced
     should they be forced to leave their jobs and homes in California to attend court in
     Colorado. Kahle Decl. ¶ 19, Burch Decl. ¶ 17. Because the burden on the Individual
     Defendants is high and potentially destructive to their respective businesses, the exercise
     of personal jurisdiction over them would be unreasonable. See Encore Productions, Inc. v.
     Promise Keepers, 53 F.Supp.2d at 1118.
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     advertises specifically in Colorado. Burch Decl. ¶¶ 8 & 10, Kahle Decl. ¶¶ 6, 7 & 8,

     Prelinger Decl. ¶¶ 7, 8 & 9. Aside from a few sporadic contacts over the course of

     decades, none of the Individual Defendants has ever directed his or her activities towards

     this forum in any way at all. There is simply no basis upon which Ms. Shell can plausibly

     claim that any one of them could “reasonably expect to be hailed into court” in Colorado.

     Ms. Shell has not and cannot show that the Individual Defendants purposefully availed

     themselves of the Colorado forum. See AST Sports Science, Inc. v. CLF Distribution Ltd.,

     2006 WL 686483 at * 3 (holding that the court did not have specific jurisdiction over the
     defendant where the contacts with Colorado were based on the “mere fortuity” that

     plaintiff was located in Colorado).

                    2.      Ms. Shell’s Counterclaims do not “arise out of” the Individual
                            Defendants’ activities in Colorado.
            Ms. Shell’s racketeering allegations are in no way related to the Individual

     Defendants’ limited contacts with Colorado. Specific jurisdiction over a nonresident

     defendant can be invoked only when the claim arises from or relates to that defendant’s

     contacts with the forum. Helicopteros, 466 U.S. at 414 nn.8, 9. To be held civilly liable

     under RICO, then, a defendant must be shown to meet the following requirements: (i)

     conduct by a person (ii) of an enterprise (iii) through a pattern (iv) of racketeering activity.
     18 U.S.C. § 1962(c); see also United States v. Turkette, 452 U.S. at 580. Accordingly, it is

     Ms. Shell’s burden to explain how the Individual Defendants’ contacts with Colorado

     “arise from or relate to” the elements of her racketeering claim. Helicopteros, 466 U.S. at

     414. Ms. Shell cannot possibly do so.

            Indeed Ms. Shell has not, because she cannot, set forth how the Individual

     Defendants’ minimal contacts bear any relation whatsoever to her allegations. Ms. Shell

     has not, and cannot, show that her racketeering claims arise out of or relate to the

     Individual Defendants’ contacts with Colorado.



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                                            Conclusion

            Ms. Shell’s Counterclaims for racketeering against the Individual Defendants

     should be dismissed with prejudice because this Court lacks personal jurisdiction over the

     Individual Defendants and because Ms. Shell has failed to state a claim against them.

                                                  Respectfully submitted,


     Date: March 12, 2007                                           /s/

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